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         EXHIBIT G
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  DQG XQGHUPLQH WKH UHOLHI WR ZKLFK 4%( LV HQWLWOHG  $FFRUGLQJO\ DQ LQMXQFWLRQ

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  SHUPDQHQW LQMXQFWLRQ DJDLQVW DQ\ DFWLRQ LQ VWDWH RU IHGHUDO FRXUW DJDLQVW 4%(

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  FRPSHWHQW WR PDNH WKLV GHFODUDWLRQ  7KLV GHFODUDWLRQ LV EDVHG XSRQ P\ SHUVRQDO

  NQRZOHGJH

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  GHEWRU+DZDLL,VODQG$LU,QF ³,VODQG$LU´ IRUWKHSHULRGIURP0DUFKWR

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               $Q $GYHUVDU\ 3URFHHGLQJ VW\OHG Kane v. PaCap Aviation Finance,

  LLC $GY 3URF 1R  ILOHG E\ WKH 7UXVWHH LQ WKLV &RXUW DJDLQVW inter

  alia-HIIUH\$X3DXO0DULQHOOL&DWKHULQH<DQQRQHDQG&KULVWRSKHU*RVVHUW WKH

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             4%( DFFHSWHG FRYHUDJH XQGHU WKH 3ROLF\ IRU WKH 7UXVWHH 3URFHHGLQJ

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   0U$XDQG3D&DSVXEPLWWHGDGGLWLRQDOLQYRLFHVZKLFKDORQJZLWKWKHSUHYLRXVO\

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Howell, John

From:                Rains, Darryl P. <DRains@mofo.com>
Sent:                Tuesday, June 7, 2022 2:33 PM
To:                  Howell, John
Cc:                  Melvin, Kimberly; Christopher J. Muzzi (cmuzzi@hilaw.us); 'Rahman Connelly'; Bregman, Julie; Marsh,
                     Shirley; Marinuzzi, Lorenzo; Rains, Darryl P.
Subject:             RE: Invoice for Services Rendered re Island Air/Carbonview (April 2022)
Attachments:         NEW_YORK-#2379116-v1-Billing_&_Payment_Ledger_76884_8_Carbonview_matter_august_2019
                     _to_march_2022.XLS



    External Email
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John:

Thanks for your email. We have just completed our work to revise our invoices to eliminate charges
not properly allocated to the insured matter. We have also collected the invoices issued by Chris
Muzzi’s and Rahman Connelly’s firms.

The attached spreadsheet lists all of our (revised) charges and disbursements, and has tabs for the
invoices issued by Messrs. Muzzi’s and Connelly’s firms.

My firm will send the underlying invoices to you by overnight service.

The next step is to schedule a conference call with you and Kim to discuss next steps. The topics to
be discussed will include:

      x   Whether you will commit to paying these invoices, and our current and future invoices, on an
          ongoing basis
      x   Whether we will need to file a declaratory judgment action, and assert claims for bad faith, in
          order to compel you to pay these invoices
      x   The proper allocation of defense fees and costs between insured and uninsured clients.

I will make myself available for such a call on Wednesday, Thursday, or Friday of this week. Please
suggest a few dates and times that would work for the two of you.

Thanks for your patience and professional courtesies. I look forward to speaking with you.

Darryl


Darryl P. Rains
Senior Of Counsel
DRains@mofo.com
T +1 (650) 813-5866
M +1 (650) 296-0988

Morrison Foerster
755 Page Mill Road
                                                            1
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Palo Alto, CA 94304-1018




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
From:Howell,John<JHowell@wiley.law>
Sent:Tuesday,June7,20228:36AM
To:Rains,DarrylP.<DRains@mofo.com>
Cc:Melvin,Kimberly<KMelvin@wiley.law>
Subject:FW:InvoiceforServicesRenderedreIslandAir/Carbonview(April2022)


External Email




Darryl,

Can you let us know where things stand with the segregation of the earlier invoices?

Thanks,

John
                  John E. Howell
                  Attorney at Law
                  jhowell@wiley.law
              




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o: 202.719.7047 • m: 617.372.2608 
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Please update your records to reflect our new office address.




From:Marsh,Shirley<SMarsh@mofo.com>
Sent:Monday,June6,20223:58PM
To:LegalInvoices<LegalInvoices@lawrenceinv.com>
Cc:professional.liability.claims@us.qbe.com;Melvin,Kimberly<KMelvin@wiley.law>;Marinuzzi,Lorenzo
<LMarinuzzi@mofo.com>;Rains,DarrylPButterfield,BenjaminW.<BButterfield@mofo.com>;Bregman,Julie
<JBregman@mofo.com>
Subject:InvoiceforServicesRenderedreIslandAir/Carbonview(April2022)

    External Email
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*RRGDIWHUQRRQ
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$WWDFKHGSOHDVHILQGRXULQYRLFHDQGEDFNXSIRUVHUYLFHVUHQGHUHGWKURXJK$SULOUHVSHFWLQJ,VODQG
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7KDQN\RXDQGEHVWUHJDUGV
6KLUOH\
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
Shirley Marsh
Legal Secretary to Lorenzo Marinuzzi
smarsh@mofo.com
T +1 (212) 336-4203




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Howell, John

From:                Tanya McGregor <TMcGregor@lawrenceinv.com>
Sent:                Friday, July 15, 2022 1:31 PM
To:                  Audrey Marrache; Howell, John; Rains, Darryl P.
Cc:                  Marinuzzi, Lorenzo
Subject:             Re: Hawaii Island Air -- Reimbursement by QBE Insurance Policy



    External Email


IcanconfirmthatPaul’slegalexpensesarebeingcoveredpursuanttoanindemnificationagreement.

From:AudreyMarrache<amarrache@lawrenceinv.com>
Date:Thursday,July14,2022at1:11PM
To:'Howell,John'<JHowell@wiley.law>,Rains,DarrylP.<DRains@mofo.com>
Cc:Marinuzzi,Lorenzo<LMarinuzzi@mofo.com>,TanyaMcGregor<TMcGregor@lawrenceinv.com>
Subject:RE:HawaiiIslandAirͲͲReimbursementbyQBEInsurancePolicy

HelloJohn&Darryl,

Tanyaaskedmetorespondtoyou.Belowaretheanswerstoyourquestions.

ReimbursementshouldbemadetoCarbonviewLimited,LLC.ThetaxpayerIDnumberis81Ͳ5449670.Ihaveattachedthe
wireinstructions,whichispasswordprotected.Thepasswordwillbesenttoyouviaseparateemail.

WearealsoconfirmingthatPaulMarinelli’sdefensecostshavebeenpaidpursuanttoanindemnificationobligation.

Pleaseletusknowifyouneedanythingfurther.

Regards,

$XGUH\0DUUDFKH
/DZUHQFH,QYHVWPHQWV//&
(PDLODPDUUDFKH#ODZUHQFHLQYFRP_3KRQH

From:Rains,DarrylP.<DRains@mofo.com>
Sent:Friday,June24,20229:34AM
To:TanyaMcGregor<TMcGregor@lawrenceinv.com>;'Howell,John'<JHowell@wiley.law>
Cc:Marinuzzi,Lorenzo<LMarinuzzi@mofo.com>
Subject:HawaiiIslandAirͲͲReimbursementbyQBEInsurancePolicy

Tanya:
 
John Howell, who is the lawyer at Wiley Rein representing QBE Insurance, asked for some
information to facilitate reimbursing Paul Marinelli’s covered defense costs. I’ve copied John on this
email so you can respond directly to him.
    

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John needs confirmation that reimbursement should be made to Lawrence Investments, to your
attention. He will also need a taxpayer ID number and wire instructions. Could you please provide
those directly to John?
 
John also would like you to confirm that Paul Marinelli’s defense costs have been paid by Lawrence
Investments (or an affiliate) pursuant to an indemnification obligation. Could you please confirm?
 
Thanks.
 
Darryl
 

Darryl P. Rains
Senior Of Counsel
DRains@mofo.com
T +1 (650) 813-5866
M +1 (650) 296-0988
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Morrison Foerster
755 Page Mill Road
Palo Alto, CA 94304-1018 
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From:peter@itolawgroup.com<peter@itolawgroup.com>
Sent:Thursday,November11,202110:39AM
To:Melvin,Kimberly<KMelvin@wiley.law>
Cc:MichaelChung<Michael.Chung@us.qbe.com>
Subject:RE:HawaiiIslandAir,Inc./TrusteeAction(ClaimNo.570784N)

    External Email
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Ms.Melvin,

ThisletteriswritteninresponsetoyourletterdatedOctober22,2021andyouremailofNovember8,2021.

Myclientswillnotparticipateinanymediationuntildiscoveryhasbeencompletedandtheyhavehadatleast90days
fromthecompletionofdiscoverytoprepareformediation.Thedeadlinetocompleteexpertdepositionsiscurrently
December14,2021.MyclientsarewillingtoparticipateinmediationthatisscheduledanytimeafterMarch14,
2022.

TotheextentthattheotherpartieselecttoproceedwithmediationpriortoMarch14,2022,pleasebeadvisedthat
JeffreyK.D.Au(“Mr.Au”):

         1. ObjectstoanysettlementthatdoesnotincludeaglobalreleasebyHawaiiIslandAir,Inc.(includingallofits
              employeesandformeremployees),Chapter7Trustee,ElizabethA.Kane,theAirLinePilotsAssociation,
              International(includingallpastandcurrentmemberswhoareformeremployeesofHawaiiIslandAir,Inc.),
              theHawaiiTeamstersandAlliedWorkers,Local996(includingallpastandcurrentmemberswhoareformer
              employeesofHawaiiIslandAir,Inc.),OhanaAirlineHoldings,LLC;CarbonviewLimited,LLC,PaulMarinelli,
              LawrenceJ.Ellison,theLawrenceJ.EllisonTrust,CatherineYannone,ChristopherGossert,DavidUchiyama
              andeachoftheirrespectiveagents,principals,directors,officers,employees,subsidiaries,parent
              corporations,managers,members,partners,shareholders,trustees,affiliates,attorneys,predecessors,
              assignsandsuccessors(collectively,the“Releasors”)infavorofMr.Au,PaCapAviationFinance,LLC,PaCap
              ManagementHoldings,LLC,PacifiCapInvestmentManagement,LLC,MalamaInvestments,LLC,Snowbiz
              Ventures,LLC,PaCapManagementSolutions,LLC,PaCapAdvisors,LLC,PacifiCapManagement,Inc.,theJack
              ChuckSheTsuiTrust(a/k/atheJackCheukSheTsuiRevocableLivingTrust),JackC.S.Tsuiandeachoftheir
              respectiveagents,principals,directors,officers,employees,subsidiaries,parentcorporations,managers,
              members,partners,shareholders,trustees,affiliates,attorneys,predecessors,assignsandsuccessors
              (collectively,the“Releasees”).ReleasorsshallreleaseReleaseesfromanyandallclaims,whetherknownor
              unknown,orforeseenorunforeseenarisingfromthebeginningoftimethroughtheeffectivedateofany
              settlement.
         2. ObjectstoanysettlementthatrequiresanyoftheReleaseestopayanyconsiderationaspartofany
              settlement;
         3. ObjectstoanysettlementthatdoesnotreimburseReleaseesfortheirattorneys’feesandcosts;and
                                                              1
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         4. ObjectstoanysettlementthatMr.Auhasnotconsentedtoinwriting.

Lastly,QBEhasprovidedadefense,underareservationofrights,toDavidUchiyama.Asyouknow,wehavefileda
thirdͲpartycomplaintagainstMr.Uchiyama,whowasintentionallynotnamedbytheplaintiffsintheirlawsuitdespite
thefactthatMr.UchiyamawasthePresident,ChiefExecutiveOfficer,ChairmanoftheBoardofDirectors,aDirectorand
theindividualultimatelyresponsiblefortheDebtoranditsmanagementandoperations.Asaresult,thereisanactual
conflictbetweenMr.AuandQBEasMr.AualongwithmyotherclientshavesuedMr.Uchiyama,whoisalsocovered
underthesamepolicyasMr.Au.Withregardtothisconflict,youmadereferenceinyourOctober22letterthatyou
“wouldbehappytowalk[me]throughQBE’sapproachinthesecircumstances.”Iwelcomeyouremailinformingme
howQBEintendsonhandlingthisconflict.

Thiscorrespondenceiswithoutprejudicetoanyofmyclients’rights,powers,privileges,remediesanddefense,now
existingorhereafterarising,allofwhichareexpresslyreserved.

Sincerely,

Peter W. Ito
Ito Law Group, P.C.
1550 Larimer Street, Suite 667
Denver, Colorado 80202
Phone: 720.281.5294 
Email: peter@itolawgroup.com
Linkedin: http://www.linkedin.com/pub/peter-ito/11/66a/15b 
Website: www.itolawgroup.com

From:Melvin,Kimberly<KMelvin@wiley.law>
Sent:Monday,November8,20215:56PM
To:peter@itolawgroup.com
Cc:MichaelChung<Michael.Chung@us.qbe.com>
Subject:RE:HawaiiIslandAir,Inc./TrusteeAction(ClaimNo.570784N)

Mr. Ito,

We have received no response from you or Mr. Au following issuance of the attached October 22, 2021
correspondence. As noted therein, the parties to the litigation other than those you represent are participating in a
private mediation on November 15, 2021. At the request of the other individual insureds, QBE Specialty Insurance
Corporation (“QBE”) will be participating in the mediation subject to the following conditions: (1) any settlement
negotiated with the trustee will need to include a complete release of all individuals that fall within the definition of
Insured Person under QBE Policy No. QPL0192298 (the “Policy”); and (2) any such settlement will be contingent on
QBE obtaining the consent of the individual Insureds named as a party to the pending litigation. If you have any
questions about QBEs proposed course of action, we would ask you to raise them now, particularly since we have
been seeking to discuss these issues with you for nearly two months. Otherwise, we will assume Mr. Au has no
objection to QBE proceeding as outlined herein.

QBE continues to reserve all rights and defenses under the Policy and applicable law in connection with this matter,
including all rights under VI.B.1 of the Policy as set forth in the attached correspondence.

If you have any questions, please contact me.

Regards,
Kim




                                                            2
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                  Kimberly M. Melvin
                  Attorney at Law
                  kmelvin@wiley.law
              




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o: 202.719.7403 • m: 703.346.0849 
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From:Melvin,Kimberly
Sent:Friday,October22,202111:57AM
To:'peter@itolawgroup.com'<peter@itolawgroup.com>
Cc:MichaelChung<Michael.Chung@us.qbe.com>
Subject:HawaiiIslandAir,Inc./TrusteeAction(ClaimNo.570784N)

Please see the attached correspondence on behalf of QBE Specialty Insurance Company. Thank you.

                  Kimberly M. Melvin
                  Attorney at Law
                  kmelvin@wiley.law
              




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